                   Case 4:13-cv-04085-SBA Document 1 Filed 09/04/13 Page 1 of 7



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 9                                  UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11

12 Juan L. Solis,                              )                  Case No.
                                               )
13                Plaintiff,                   )
                                               )                  COMPLAINT
14
                  v.                           )
15                                             )                  (Fair Credit Reporting Act
     Trans Union LLC and                       )                  15 USC § 1681 et seq)
16   Fed Loan Servicing,                       )
                                               )                  DEMAND FOR JURY TRIAL
17                                             )
18                Defendants.                  )
     __________________________________________)
19
                                               Preliminary Statement
20
              1.      This is an action for damages by plaintiff Juan L. Solis against Trans Union, LLC and
21

22 Fed Loan Servicing for violations of the Fair Credit Reporting Act, 15 USC §1681 et seq. (FCRA)

23 and the California Credit Reporting Agencies Act (CCRAA), Civil Code § 1785.25(a).

24                                            The Parties
25            2.       Plaintiff Juan L. Solis is a resident of Emeryville, California.
26
              3.      Defendant Trans Union, LLC (“TU”) is a limited liability company that regularly
27
     conducts business in this district and is a national credit reporting agency the activities of which are
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     Juan L. Solis v Trans Union LLC, ND Case No.
     Complaint and Jury Demand                                                                        1
                   Case 4:13-cv-04085-SBA Document 1 Filed 09/04/13 Page 2 of 7


     subject to the terms of the FCRA.
 1

 2            4.      Defendant Fed Loan Servicing is a Pennsylvania corporation with its principal place

 3 of business in Harrisburg, PA. Fed Loan Servicing was established by the Pennsylvania Higher

 4 Education Assistance Agency to support the U.S. Department of Education's ability to service student

 5 loans owned by the federal government. According to its website, Fed Loan Servicing is one of a

 6
     limited number of organizations approved by the U.S. Department of Education to service these loans
 7
     and it is dedicated to supporting borrowers with easy and convenient ways to manage their student
 8
     loans.
 9

10                                            Jurisdiction & Venue

11            5.      The court has federal question jurisdiction over the FCRA claims pursuant to 15 USC

12 §1681p and supplemental jurisdiction over the state law claims pursuant to 15 USC § 1367.

13
              6.      The defendants do business in this district.
14
                                               Description of the Case
15
              7.      Defendant Trans Union LLC has mixed plaintiff Juan L. Solis’ credit files with those
16
     of his father and mother, whose names are Jorge Solis and Juanita Solis. The accounts that are mixed
17
18 are student loans serviced by defendant Fed Loan Servicing.

19            8.      Plaintiffs’ parents filed a Chapter 7 bankruptcy proceeding on May 4, 2012, in the
20 U.S. Bankruptcy Court in the Eastern District of Michigan. Their petition listed two Fed Loan

21
     Servicing accounts, represented student loans as to which plaintiff’s parents had co-signed.
22
              9.      Plaintiff has never filed a bankruptcy proceeding.
23
              10.     Beginning on May 31, 2012, and continuing to date, defendant Fed Loan Servicing
24

25 has been reporting to Trans Union LLC that plaintiff filed a Chapter 7 bankruptcy on nine (9) Fed

26 Loan Servicing student loans. Plaintiff took out the loans in amounts that varied from $1,750 to

27 $12,000 in the period June 2008 to August 2009.

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     Juan L. Solis v Trans Union LLC, ND Case No.
     Complaint and Jury Demand                                                                      2
                Case 4:13-cv-04085-SBA Document 1 Filed 09/04/13 Page 3 of 7


              11.    Trans Union LLC’ reporting on plaintiff’s accounts is ridiculous on its face. The only
 1

 2 accounts that Trans Union LLC is reporting are affected by a Chapter 7 bankruptcy proceeding are

 3 the nine Fed Loan Servicing accounts. Plaintiff has many other accounts that Trans Union is

 4 reporting are not affected by a bankruptcy proceeding. Anyone the least bit conversant with the

 5 bankruptcy laws would know that when an individual files bankruptcy, all of his or her pre-petition

 6
     debts are included in bankruptcy. Plus, the instances when an individual can successfully zero out
 7
     students loans are extremely rare. In other words, any sensible analyst looked at plaintiff’s Trans
 8
     Union credit report would know the Fed Loan Servicing accounts were being reported inaccurately.
 9

10            12.    Plaintiff talked by telephone with representatives of Trans Union in June 2012; on four

11 (4) occasions on August 10, 2012; on December 3, 2012; and on August 15, 2013. During the

12 plaintiff explained in detail that Trans Union’s reporting on the Fed Loan Servicing loans was

13
     inaccurate and that he had never filed bankruptcy.
14
              13.    Plaintiff talked by telephone with representatives of defendant Fed Loan Servicing on
15
     August 10, 2012, November 28, 2012; and on August 15, 2013. In these conversations, plaintiff
16
     explained that its reporting to Trans Union was inaccurate. He explained he had never filed
17
18 bankruptcy. The Fed Loan Servicing said plaintiff’s file included a “note” that he had filed

19 bankruptcy. The representative said he or someone would get back to plaintiff, but to date no one has

20 done so.

21
              14.    On August 19, 2013, plaintiff talked to a representative of Trans Union. In the
22
     conversation, plaintiff explained that its credit reporting was inaccurate. Plaintiff followed up the
23
     conversation with a letter the next day to Trans Union.
24

25            15.    Plaintiff talked to a Fed Loan Servicing representative on August 30, 2013, again

26 explaining he had never filed a bankruptcy proceeding.

27            16.    Plaintiff’s student loans were completely paid of through a loan consolidation done by
28 the U.S. Department of Education. Equifax and Experian reported the loans as repaid and/or


     Juan L. Solis v Trans Union LLC, ND Case No.
     Complaint and Jury Demand                                                                         3
                Case 4:13-cv-04085-SBA Document 1 Filed 09/04/13 Page 4 of 7


     refinanced on May 2013, when they were paid off by the consolidation loan. TransUnion continued
 1

 2 to report them as discharged in bankruptcy.

 3            17.     Plaintiff applied for and was denied loans and extensions of credit based on

 4 defendants’ inaccurate credit reporting.

 5            18.    As a result of defendants’ conduct, plaintiff has suffered actual damages in the form of
 6
     (a) lost credit opportunities, b) harm to credit reputation and credit score, and (c) emotional distress in
 7
     the form of mental pain, anguish, humiliation, embarrassment, anxiety and frustration. Plaintiff will
 8
     continue to suffer the same for an indefinite time in the future, all to his great detriment and loss.
 9

10 First Claim: Violations of the Fair Credit Reporting Act—Against Trans Union

11            19.    Plaintiff incorporate by reference ¶¶ 1 through 18.

12            20.    The Fair Credit Reporting Act provides that if the completeness or accuracy of any
13
     item of information contained in a consumer’s file at a consumer reporting agency is disputed by the
14
     consumer and the consume notifies the agency directly of such dispute, the agency shall conduct a
15
     reasonable reinvestigation to determine whether the disputed information is inaccurate, or delete the
16
     item from the file within 30 days of receiving the consumer’s dispute notice. 15 USC § 1681i(a)(1)
17
18 (A).

19            21.    In conducting its reinvestigation of disputed information in a consumer report, the
20 credit reporting agency is required to “review and consider all relevant information submitted by the

21
     consumer.”
22
              22.    Within the two years preceding the filing of this complaint, Plaintiffs notified TU of
23
     inaccuracies contained in its reports and asked it to correct the inaccuracies.
24

25            23.    Trans Union failed to conduct a reasonable reinvestigation of the inaccuracies that

26 Plaintiffs disputed.

27            24.    Trans Union failed to review and consider all relevant information submitted by
28 Plaintiff.


     Juan L. Solis v Trans Union LLC, ND Case No.
     Complaint and Jury Demand                                                                         4
                Case 4:13-cv-04085-SBA Document 1 Filed 09/04/13 Page 5 of 7


              25.      Trans Union failed to employ and follow reasonable procedures to assure maximum
 1

 2 possible accuracy of plaintiff’s credit reports, information and file in violation of 15 USC § 1681e(b).

 3            26.      As a result of the above-described violations of § 1681i and § 1681e(b), plaintiff has

 4 sustained damages.

 5            27.      Trans Union’s violations of the FCRA were willful and therefore plaintiffs is therefore
 6
     entitled to also seek statutory and punitive damages.
 7
     Second Claim: Violations of the Fair Credit Reporting Act—Against Fed Loan Servicing
 8
              28.     Plaintiff incorporates by reference ¶¶ 1-27.
 9

10            29.      The FCRA requires a furnisher such as Fed Loan Servicing, after receiving notice

11 from a credit reporting agency that a consumer disputes information that is being reported by a

12 furnisher, to conduct an investigation with respect to the disputed information, to review all relevant

13
     information, to report the results of the investigation to the credit reporting agency, and, if the
14
     investigation reveals that the information is incomplete or inaccurate, to report those results to all
15
     other credit reporting agencies to which the furnisher has provided the inaccurate information.
16
              30.      Within the last two years, the defendant provided inaccurate and misleading
17
18 information to the credit reporting agencies.

19            31.      The defendant violated sections 1681n and 1681o by engaging in the following
20 conduct that violates 15 U.S.C. § 1681s-2(b):

21
              (a) willfully and negligently failing to conduct an investigation of the inaccurate information
22
                    that plaintiff disputed;
23
              (b) willfully and negligently failed to review all relevant information concerning plaintiff’s
24

25                  accounts;

26            (c) willfully and negligently failing to report the results of investigations to Trans Union;

27            (d) willfully and negligently failing to report the inaccurate status of the inaccurate
28                  information to the credit reporting agencies;

     Juan L. Solis v Trans Union LLC, ND Case No.
     Complaint and Jury Demand                                                                          5
                Case 4:13-cv-04085-SBA Document 1 Filed 09/04/13 Page 6 of 7


              (e) willfully and negligently failing to properly participate, investigate and comply with the
 1

 2                  reinvestigations that were conducted by the credit reporting agencies concerning the

 3                  inaccurate information disputed by plaintiff;

 4            (f) willfully and negligently failing to provide the credit reporting agencies with the factual
 5                  information and evidence plaintiff submitted to defendants that proved that the
 6
                    information concerning plaintiff’s credit reports was inaccurate;
 7
              (g) willfully and negligently continuing to furnish and disseminate inaccurate and derogatory
 8
                    credit, account and other information concerning plaintiff’s account to the credit
 9

10                  reporting agencies;

11            (h) willfully and negligently failing to comply with the requirements imposed on furnishers

12                  of information pursuant to 15 USC § 1681s-s(b); and
13
              32.     As a result of the above-described violations of § 1681s-2(b), plaintiff has been
14
     damaged.
15
   Third Claim: Violations of the California Consumer Credit Reporting Agencies Act, California
16 Civil Code §§ 1785.25 (a) – Against Fed Loan Servicing

17            33.      Plaintiff incorporates by reference ¶¶ 1-32.
18
              34.      California Civil Code § 1785.25 (a) states that a “person shall not furnish information
19
     on a specific transaction or experience to any consumer credit reporting agency if the person knows
20
     or should know the information is incomplete or inaccurate.”
21
              35.     The defendant negligently and willfully furnished information to the credit reporting
22

23 agencies it knew or should have known was inaccurate.

24            36.     The defendant failed to make corrections to the information it was furnishing to the
25 credit reporting agencies.

26
              37.     The defendant failed to provide a notice to the credit reporting agencies that the
27
     information it was providing was disputed.
28


     Juan L. Solis v Trans Union LLC, ND Case No.
     Complaint and Jury Demand                                                                           6
                  Case 4:13-cv-04085-SBA Document 1 Filed 09/04/13 Page 7 of 7


              38.     Based on these violations of Civil Code § 1785.25 (a), (b) & (c), plaintiff is entitled to
 1

 2 the remedies afforded by Civil Code § 1785.31, including actual damages, attorney’s fees, pain and

 3 suffering, injunctive relief, and punitive damages in an amount not less than $100 nor more than

 4 $5,000, for each violation as the Court deems proper.

 5                                                    PRAYER
 6           WHEREFORE, plaintiff prays for judgment as follows:
 7           1.      Actual, statutory and punitive damages;
 8
             2.      Injunctive relief;
 9
             3.      Costs and attorney’s fees; and
10
             4.      Such other relief as the Court may deem proper.
11
     Dated: September 4, 2013.
12
                                      ANDERSON, OGILVIE & BREWER LLP
13

14                                    By /s/ Mark F. Anderson
                                            Mark F. Anderson
15                                          Attorney for Plaintiff

16                                          DEMAND FOR JURY TRIAL
17           Plaintiff demands a trial by jury on all issues.
18
     Dated: September 4, 2013.
19
                                      ANDERSON, OGILVIE & BREWER LLP
20

21
                                      By /s/ Mark F. Anderson
22                                           Mark F. Anderson
                                            Attorney for Plaintiff
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     Juan L. Solis v Trans Union LLC, ND Case No.
     Complaint and Jury Demand                                                                         7
